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                                 Enhancing the US-UK Sanctions Partnership | U.S. Department of the Treasury
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    U.S. DEPARTMENT OF THE TREASURY

    Enhancing the US-UK Sanctions Partnership
    ~

    October 17, 2022


    By: Andrea Gacki, Director, Office of Foreign Assets Control, U.S. Department of the Treasury and
          Giles Thomson, Director, The Office of Financial Sanctions Implementation, HM Treasury

    As Directors of two of the world’s leading financial sanctions implementation authorities, we
    are committed to our close working relationship. As a testament to this ongoing commitment,
    on Thursday, October 13, OFAC and OFSI concluded a multi-day technical exchange in London
    between our two offices. This will bring significant benefits to both our organizations and
    reinforce our coordination and collaboration in the years to come.

    OFAC and OFSI have much in common and therefore significant ground for advancing our
    collaboration to a new level. The two units are amongst the largest in the world, with similar
    corresponding functions and tools, such as the ability to issue general licenses and civil
    monetary penalties with comparable legal thresholds. As such, we have decided to deepen
    OFSI-OFAC co-operation further, to enhance both our own capabilities and the support we
    provide to those at the forefront of effective sanctions implementation. Doing so will further
    build on the aims of the U.S. Department of the Treasury’s 2021 Sanctions Review, and support
    OFSI’s move to a larger and more proactive organization.

    In practice, this means that over the coming months, OFAC and OFSI officials working on
    implementation and enforcement will be further exchanging best practices and strengthening
    working relationships at all levels. We will identify opportunities to pool expertise, to think
    creatively about the challenges we face, to explore opportunities to align the way we
    implement sanctions, and to assist our stakeholders either through joint products or by
    providing guidance resulting from collaboration behind the scenes. The beginnings of this work
    are already underway, as OFAC and OFSI work together to develop approaches to address
    shared priorities like cyber threats and the misuse of virtual assets, improving information
    sharing, and ensuring that our sanctions do not prevent humanitarian trade and assistance
    from reaching those in need.



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    This year, together with allies and partners, the United States and the United Kingdom have
    imposed unprecedented costs on Russia in response to the Kremlin’s unprovoked,
    premeditated war against Ukraine. Owing to the efforts of governments, industry, and other
    stakeholders who are at the forefront of implementing these sanctions, we know that these
    efforts are having a material impact on the Russian economy. Putin himself has acknowledged
    the “problems and difficulties” caused by sanctions, and we have had a significant impact on
    Russia’s military-industrial complex and its ability to wage its unjust war.

    Financial sanctions will continue to be a vital tool in supporting the United States’ and United
    Kingdom’s respective foreign policy and national security aims. They also help to protect the
    integrity of our financial systems as part of wider efforts to tackle corruption, kleptocracy, and
    other forms of economic crime.

    Financial sanctions work best when implemented multilaterally. This maximises their impact,
    minimises unintended consequences, and eases the burden of compliance for business.
    Throughout the current crisis, the United Kingdom and United States have made efforts to
    design, communicate, and implement new sanctions in close coordination with each other as
    well as with other key allies and partners.

    But we also recognize that the growing scale of sanctions has increased the complexities of
    their implementation. The commitment and willingness of stakeholders to constructively
    engage with us has been very welcome. We will of course continue, in close co-ordination with
    one another, to assist stakeholders via our outreach, by maintaining and updating sanctions-
    related products to provide useful information and guidance, and by making timely decisions
    regarding licenses. This year alone, in administering Russia-related sanctions, OFAC has issued
    over 100 Frequently Asked Questions, two humanitarian-related fact sheets, over 2,000
    responses to specific license and interpretive guidance requests, and over 50 General Licenses,
    and engages regularly with stakeholders including private sector entities, financial institutions,
    and non-government organizations. Meanwhile, OFSI has updated its Russia, Monetary Penalty
    and General guidance, engaged extensively with industry through webinars, roundtables and
    bespoke meetings, issued over 30 General licenses , and is increasing its resource to over 100
    staff members by the end of the financial year.

    Over time, we expect to realize the benefits of our collaboration not only in relation to the
    sanctions imposed in response to Russia’s invasion of Ukraine, but also across other common
    sanctions regimes. The United Kingdom and the United States have enjoyed a special
    relationship for many decades, and our collaboration with respect to economic sanctions is no
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    exception. Our common values and combined role in the global financial system make our
    partnership incredibly potent. And as we embark on this new chapter, we will of course
    continue to seek and welcome opportunities to work closely with additional allies and partners
    around the world to ensure that sanctions make the fullest contribution to the policy aims they
    seek to achieve.

    Andrea Gacki, Director, Office of Foreign Assets Control, U.S. Department of the Treasury

    Giles Thomson, Director, The Office of Financial Sanctions Implementation, HM Treasury




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   Disclosures




The White House
Office of the Press Secretary

For Immediate Release                                                                                     January 16, 2015



FACT SHEET: U.S.-United Kingdom
Cybersecurity Cooperation

                                                                                                       SCHOBER_003250
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The United States and the United Kingdom agree that the cyber threat is one of the most
serious economic and national security challenges that our nations face. Every day foreign
governments, criminals, and hackers are attempting to probe, intrude into, and attack
government and private sector systems in both of our countries. President Obama and                SHARE THIS:
Prime Minister Cameron have both made clear that domestic cybersecurity requires
cooperation between governments and the private sector. Both leaders additionally
recognized that the inherently international nature of cyber threats requires that
                                                                                                   0
governments around the world work together to confront those threats.                              0
During their bilateral meetings in Washington, D.C. this week, President Obama and Prime
Minister Cameron agreed to further strengthen and deepen the already extensive
                                                                                                   0

cybersecurity cooperation between the United States and the United Kingdom. Both leaders
agreed to bolster efforts to enhance the cybersecurity of critical infrastructure in both
countries, strengthen threat information sharing and intelligence cooperation on cyber
issues, and support new educational exchanges between U.S. and British cybersecurity
scholars and researchers.

Improving-
-        Critical Infrastructure
                  - -            Cybersecurity
                                     -

The United States and United Kingdom are committed to our ongoing efforts to improve the
cybersecurity of our critical infrastructure and respond to cyber incidents. Both governments
have agreed to bolster our efforts to increase threat information sharing and conduct joint
cybersecurity and network defense exercises to enhance our combined ability to respond to
malicious cyber activity. Our initial joint exercise will focus on the financial sector, with a
program running over the coming year. Further, we will work with industry to promote and
align our cybersecurity best practices and standards, to include the U.S. Cybersecurity
Framework and the United Kingdom’s Cyber Essentials scheme.

-Strengthening-
              Cooperation
                       -  on Cyber-
                                  Defense

The United States and the United Kingdom work closely on a range of cybersecurity and
cyber defense matters. For example, the U.S. Computer Emergency Readiness Team (US-
CERT) and CERT-UK collaborate on computer network defense and sharing information to
address cyber threats and manage cyber incidents. To deepen this collaboration in other
areas, the United Kingdom’s Government Communications Headquarters (GCHQ) and
Security Service (MI5) are working with their U.S. partners – the National Security Agency
and the Federal Bureau of Investigation – to further strengthen U.S.-UK collaboration on
cybersecurity by establishing a joint cyber cell, with an operating presence in each country.
The cell, which will allow staff from each agency to be co-located, will focus on specific cyber
defense topics and enable cyber threat information and data to be shared at pace and at
greater scale.


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                                                                   United Kingdom on Data Access Agreement | OPA | Department of Justice
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           An official website of the United States government
           Here’s how you know

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                DEPARTMENT§ JUSTICE
        JUSTICE NEWS

                                                              Department of Justice

                                                               Office of Public Affairs


      FOR IMMEDIATE RELEASE                                                                                  Thursday, July 21, 2022


            Joint Statement by the United States and the United Kingdom on Data Access
                                             Agreement

      The United States and United Kingdom intend to bring into force the Agreement between the Government of the United
      States of America and the Government of the United Kingdom of Great Britain and Northern Ireland on Access to
      Electronic Data for the Purpose of Countering Serious Crime (“Data Access Agreement”), which was signed in 2019, on
      Oct. 3, 2022. The entry into force of the Data Access Agreement will start a new era of co-operation between the United
      States and the United Kingdom, bringing forward a renewed commitment to tackling the threat of serious crime.

      The Data Access Agreement will be the first agreement of its kind, allowing each country’s investigators to gain better
      access to vital data to combat serious crime in a way that is consistent with our shared values and mission of protecting
      our citizens and safeguarding our national security.

      The Data Access Agreement will allow information and evidence that is held by service providers within each of our
      nations and relates to the prevention, detection, investigation or prosecution of serious crime to be accessed more
      quickly than ever before. This will help, for example, our law enforcement agencies gain more effective access to the
      evidence they need to bring offenders to justice, including terrorists and child abuse offenders, thereby preventing
      further victimization.

      Our Agreement will maintain the strong oversight and protections that our citizens enjoy and does not compromise or
      erode the human rights and freedoms that our nations cherish and share. It protects our citizens by improving both
      nations’ ability to fight serious crime while maintaining the democratic and civil liberties standards that we stand for and
      promote around the world.

      This Agreement is the latest demonstration of the strength of the bond between the United States and the United
      Kingdom, and our commitment to robust co-operation in the future.


      Topic(s):
      Cybercrime

      Component(s):
      Criminal Division
      Criminal - Computer Crime and Intellectual Property Section
      Criminal - Office of International Affairs
      National Security Division (NSD)
      Office of the Deputy Attorney General

      Press Release Number:
      22-784



https://www.justice.gov/opa/pr/joint-statement-united-states-and-united-kingdom-data-access-agreement
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